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                        UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION



  TERRENCE HAWKINS,                      No. ED CV 20-00567-DMG (DFM)

           Plaintiff,                    JUDGMENT

              v.

  DR. LOH et al.,

           Defendants.



       Pursuant to the Court’s Order Accepting the Report and
 Recommendation of United States Magistrate Judge,
       IT IS ADJUDGED that this action is dismissed without prejudice.



  DATED: November 3, 2021                 ___________________________
                                          DOLLY M. GEE
                                          United States District Judge
